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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8   _______________________________________
                                            )
 9   UNITED STATES OF AMERICA,              )               No. CR08-82RSL
                                            )
10                         Plaintiff,       )               ORDER DENYING MOTION
           v.                               )               FOR RECONSIDERATION
11                                          )
     SHAWN VANELL PIPER, et al.,            )
12                                          )
                           Defendants.      )
13   _______________________________________)
14         This matter comes before the Court on the “United States’ Motion for Reconsideration
15   Re: Protective Order” (Dkt. #194). Under Local Criminal Rule 12(c)(11), motions for
16   reconsideration are disfavored. Having reviewed the motion under the standard set forth in
17   Local Criminal Rule 12(c)(11), and the remainder of the record, the Court hereby DENIES the
18   motion for reconsideration (Dkt. #194).
19
           DATED this 3rd day of September, 2008.
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22                                             Robert S. Lasnik
23                                             United States District Judge

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26
     ORDER DENYING MOTION
     FOR RECONSIDERATION
